    Case 1:20-cv-03010-APM    Document 1315   Filed 05/13/25   Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, et al.,

              Plaintiffs,               Case No. 1:20-cv-03010-APM

     v.

GOOGLE LLC,                             HON. AMIT P. MEHTA

              Defendant.


STATE OF COLORADO, et al.,

              Plaintiffs,               Case No. 1:20-cv-03715-APM

     v.

GOOGLE LLC,                             HON. AMIT P. MEHTA

              Defendant.



  NOTICE OF ERRATA TO MOTION AND EXHIBIT A BY BIPARTISAN FORMER
  ANTITRUST ENFORCERS FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE IN
                    SUPPORT OF NEITHER PARTY
      Case 1:20-cv-03010-APM          Document 1315        Filed 05/13/25     Page 2 of 4




       Amicus Curiae Bipartisan Former Antitrust Enforcers respectfully submit this errata to its

Motion for Leave to file its Amicus Brief in Support of Neither Party and Exhibit A - Brief of

Bipartisan Former Antitrust Enforcers As Amicus Curiae in Support of Neither Party, which was

filed on May 6, 2025, at Docket No. 1243, to correct two inadvertent errors. On Page 3 of the

Motion and Page 17 of Exhibit A, the clause “and as Counsel to the Assistant Attorney General

in the Antitrust Division of the United States Department of Justice from 1993 to 1995” should

be moved from Mark Whitener’s biography to Willard K. Tom’s. On Page 3 of the Motion and

Page 17 of Exhibit A, it will now read:

       “Willard K. Tom served as General Counsel of the Federal Trade Commission from 2009

to 2012. He also served as Deputy Director of the Bureau of Competition at the Federal Trade

Commission from 1997 to 2000 and as Counsel to the Assistant Attorney General in the

Antitrust Division of the United States Department of Justice from 1993 to 1995.

       Mark Whitener is an Adjunct Professor at Georgetown University and a Senior Fellow at

the Georgetown Center for Business & Public Policy. He served as Deputy Director of the

Bureau of Competition at the Federal Trade Commission from 1993 to 1997.”

       Amicus Curiae are concurrently filing a corrected Motion and Exhibit A that includes

these corrections and makes no other changes.




                                                1
     Case 1:20-cv-03010-APM   Document 1315       Filed 05/13/25    Page 3 of 4




Dated: May 13, 2025                      Respectfully submitted,

                                         /s/ Ian Simmons
                                         Ian Simmons (D.C. Bar No. 439645)
                                         Michael F. Rosenblatt (D.C. Bar No.
                                         1656892) (pro hac vice)
                                         O’MELVENY & MYERS LLP
                                         1625 Eye Street, NW
                                         Washington, DC 20006-4061
                                         Telephone:      +1 202 383 5300
                                         Facsimile:      +1 202 383 5414
                                         isimmons@omm.com
                                         mrosenblatt@omm.com

                                         Peter Herrick (D.C. Bar No. 1029327)
                                         (pro hac vice)
                                         O’MELVENY & MYERS LLP
                                         1301 Avenue of the Americas
                                         17th Floor
                                         New York, NY 10019
                                         Telephone:      +1 212 326 2000
                                         Facsimile:      +1 212 326 2061
                                         pherrick@omm.com

                                         and

                                         Andrew Ezekoye (pro hac vice)
                                         Joshua P. Cayetano (pro hac vice)
                                         O’MELVENY & MYERS LLP
                                         Two Embarcadero Center
                                         28th Floor
                                         San Francisco, CA 94111-3823
                                         Telephone:      +1 415 984 8700
                                         Facsimile:      +1 415 984 8701
                                         aezekoye@omm.com
                                         jcayetano@omm.com

                                         Attorneys for Amicus Curiae Bipartisan
                                         Former Antitrust Enforcers




                                     2
      Case 1:20-cv-03010-APM           Document 1315         Filed 05/13/25     Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2023, I electronically filed a true and correct copy of the

foregoing NOTICE OF ERRATA TO MOTION AND EXHIBIT A BY BIPARTISAN

FORMER ANTITRUST ENFORCERS FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE

IN SUPPORT OF NEITHER PARTY with the Clerk via the CM/ECF system which will send

notification of such filing and service upon all counsel of record.



                                                              /s/ Ian Simmons
                                                              Ian Simmons
                                                              O’MELVENY & MYERS LLP
                                                              1625 Eye Street, NW
                                                              Washington, DC 20006-4061
                                                              Telephone:    +1 202 383 5300
                                                              Facsimile:    +1 202 383 5414
                                                              isimmons@omm.com

                                                              Counsel for Amicus Curiae
                                                              Bipartisan Former Antitrust
                                                              Enforcers




                                                 3
